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Select A Case

Sarah Crebassa is a plaintiff in 8 cases.

2:1,7-cv-02270-JCM-GWF Crebassa v. LVMPD et al
2:17-cv'-02271-JAD-NJK ' Creba;sa V. Manendo
2;17-ev-02272-APG-NJK Cfebeeee v. Afieffe
2:17-cv-02273-JAD-CWH Crebassa v. Rape Crisis Center
2:17-cv-02274-RFB-PAL Clreba`ssa v. A.C.L.U.
2:17-cv-02276-APG-N.TK Crebassa v.. Sandoval

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